           Case 1:21-cr-00378-TJK Document 114 Filed 11/08/22 Page 1 of 3




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA,                            Criminal No. 21-cr-378

           v.                                         POST-TRAVEL STATUS REPORT AND
                                                      RENEWED MOTION FOR REMOVAL OF
 PAUL C. RAE,                                         ANKLE MONITOR AND ALLOW ALL-
                                                      FLORIDA TRAVEL
                        Defendant.




POST-TRAVEL STATUS REPORT AND RENEWED REQUEST FOR REMOVAL OF

ANKLE MONITOR AND ALLOW ALL-FLORIDA TRAVEL

       NOW comes Defendant, Paul C. Rae, by and through his counsel of record, John M.

Pierce, Esq., respectfully requesting this Honorable Court to modify his current conditions of

release.

       Defendant has returned from his wedding travel without incident. Although the ankle

monitor caused several problems during the travel, Mr. Rae reports compliance with all

conditions. Defendant renews his request for removal of the ankle monitor for reasons already

described in prior pleadings.

       Mr. Rae also renews his request for the ability to travel and work throughout the state of

Florida. Mr. Rae’s parents live in northern Florida along with numerous work associates and

friends.

       Wherefore, Mr. Rae respectfully requests this honorable Court to grant his motion to

modify the conditions of his pretrial release by eliminating the need for GPS ankle monitoring as

well as eliminating the travel and work restrictions within the state of Florida.




                                                  1
        Case 1:21-cr-00378-TJK Document 114 Filed 11/08/22 Page 2 of 3




Date: November 8, 2022              Respectfully Submitted,



                                    John M. Pierce
                                    21550 Oxnard Street
                                    3rd Floor, PMB #172
                                    Woodland Hills, CA 91367
                                    Tel: (213) 400-0725
                                    Email: jpierce@johnpiercelaw.com
                                    Attorney for Defendant




                                      2
          Case 1:21-cr-00378-TJK Document 114 Filed 11/08/22 Page 3 of 3



                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, November 8, 2022, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce




                                                   3
